                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                1:22-mj-336
           Plaintiff,

v.                                              COMPLAINT
                                                PENALTY SHEET
JOSHUA BRERETON,

           Defendant.
                                      /


Arson of an Institution or Organization Receiving Federal Funding,
18 U.S.C. § 844 (f)(1)

     Maximum penalty: Mandatory minimum of 5 years and not more than 20
     years in prison and a fine of up to $250,000 [18 U.S.C. § 844(f)(1)]

     Supervised Release: Not more than 5 years [18 U.S.C. § 3583(b)(1)]

     Special Assessment: $100 [18 U.S.C. § 3013]



Date: August 4, 2022                      /s/ Stephanie M. Carowan
                                          Assistant United States Attorney




Submitted in accordance with Admin Order 17-MS-046
